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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

LAWYERS FOR FAIR                            :
RECIPROCAL ADMISSION                        :
                                            :
       v.                                   :       CIVIL ACTION NO. 22-2399
                                            :
UNITED STATES, ET AL.                       :

                                                ORDER

  In the Matter of the Designation of a Magistrate Judge for Service in Another District

        Pursuant to 28 U.S.C. § 636(f), in an emergency and upon the concurrence of the chief
judges of the districts involved, a United States magistrate judge may be temporarily assigned
to perform any of the duties specified in subsections (a), (b), or (c) of this section in a judicial
district other than the judicial district for which he or she has been appointed. No magistrate
judge shall perform any of such duties in a district to which he or she has been temporarily
assigned until an order has been issued by the chief judge of such district specifying the
emergency by reason of which the magistrate judge is being transferred, the duration of his or
her assignment, and the duties which he or she is authorized to perform.

       Due to the assignment of the above-titled case to a district judge in the Eastern District
of Pennsylvania, a magistrate judge from the Eastern District of Pennsylvania is needed to
handle matters in the above-titled case. For this reason, the court certifies the need for
assistance from a visiting U.S. magistrate judge from the Eastern District of Pennsylvania from
May 19, 2022 for such a period as is necessary for the disposition of the above-entitled matter.

THEREFORE,

       IT IS ORDERED, with the concurrence of the Honorable Juan R. Sánchez, Chief Judge of
the Eastern District of Pennsylvania, that the Honorable Richard A. Lloret, a United States
Magistrate from the Eastern District of Pennsylvania, is hereby designated to hold court and
perform any and all judicial duties designated under 28 U.S.C. § 636, subsections (a), (b), and
(c), on an as needed basis, in the District of New Jersey for a period from May 19, 2022 to
December 31, 2023, or during the pendency of this case.

Dated this 19th day of May, 2022.




                                            ____________________________________
                                            Honorable Freda L. Wolfson
                                            Chief U.S. District Judge
                                            District of New Jersey
